Case: 23-30632      Document: 71-1      Page: 1    Date Filed: 08/26/2024




        United States Court of Appeals
             for the Fifth Circuit
                            ____________                         United States Court of Appeals
                                                                          Fifth Circuit


                              No. 23-30632
                                                                        FILED
                                                                  August 26, 2024
                            ____________
                                                                   Lyle W. Cayce
Susan Hardy,                                                            Clerk

                                                      Plaintiff—Appellant,

                                  versus

Scandinavian Airlines System, also known as SAS,
doing business as Scandinavian Airlines of North America,
Incorporated,

                                         Defendant—Appellee.
               ______________________________

               Appeal from the United States District Court
                  for the Eastern District of Louisiana
                         USDC No. 2:21-CV-1591
               ______________________________

Before Smith, Wiener, and Douglas, Circuit Judges.
Jerry E. Smith, Circuit Judge:
      Susan Hardy flew from Newark, New Jersey, to Oslo, Norway, to visit
her daughter. As she stepped off the plane, she fell and fractured her leg.
Hardy sued the airline, Scandinavian Airlines System (“SAS”), in the Eas-
tern District of Louisiana, contending that Article 33 of the Montreal Con-
vention created both subject matter jurisdiction over the injury claim and
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                                       No. 23-30632


personal jurisdiction over SAS. 1 The district court dismissed, concluding
that the Convention grants only subject matter jurisdiction. Further, it
rejected Hardy’s claim that SAS’s waiver of service created personal juris-
diction under Federal Rule of Civil Procedure 4(k)(2).
        This court has never answered whether the Montreal Convention
independently creates personal jurisdiction over a defendant airline. On this
matter of first impression, we hold that it does not. Article 33, despite being
titled “Jurisdiction,” uses “may be brought” and “must be brought” lan-
guage, which is wording indicative of venue prescriptions. And venue pre-
scriptions do not establish personal jurisdiction without language also author-
izing the service of process. BNSF Ry. Co. v. Tyrrell, 581 U.S. 402, 408–10
(2017). Because the Montreal Convention lacks that language, it does not
create personal jurisdiction.
        We depart from the district court, however, on Hardy’s Rule 4(k)(2)
claim. The district court incorrectly considered whether SAS had minimum
contacts with Louisiana. Instead, it should have analyzed SAS’s contacts
with the United States writ large. Per that analysis, we conclude that SAS
has sufficient minimum contacts with the U.S. for the district court à quo to
exercise personal jurisdiction over it for Hardy’s claim. Therefore, we
reverse and remand.

                                             I.
        Hardy lives in Mandeville, Louisiana, but her daughter and son-in-law
live in Oslo. She and her husband flew there for a visit. Hardy purchased
round-trip tickets from New Orleans to Newark on United Airlines and sepa-

        _____________________
        1
           See Convention for the Unification of Certain Rules for International Carriage by
Air, art. 33, May 28, 1999, S. Treaty Doc. 106-45, 1999 WL 33292734 (the “Montreal
Convention”).




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                                       No. 23-30632


rately bought round-trip tickets from Newark to Oslo on SAS. 2
        As she disembarked the plane in Oslo, Hardy’s foot dropped an
unexpected five to six inches further than normal to the jet bridge, and she
fell hard, breaking her right leg. She spent several days in a hospital in Oslo
before recovering at her daughter’s home. Later, she returned to Mandeville
and continued to receive treatment.
        Hardy sued SAS in the Eastern District of Louisiana, alleging strict
liability under the Montreal Convention. 3 After the parties ironed out issues
regarding Hardy’s initial service on SAS’s American subsidiary, SAS waived
service per Federal Rule of Civil Procedure 4(d). Shortly thereafter, SAS
moved to dismiss for want of personal jurisdiction under Federal Rule of Civil
Procedure 12(b)(2). At no place in that motion, or elsewhere, did SAS name
a district within the United States where the court could exercise personal
jurisdiction over it.
        The court granted SAS’s motion and dismissed Hardy’s complaint
without prejudice. First, it rejected Hardy’s claim that the Montreal Con-
vention’s Article 33 created personal jurisdiction over SAS. Recognizing that
our court had yet to address that question, it found the Second Circuit’s
analysis in National Union persuasive and adopted it. 4 Second, the court
rejected Hardy’s contention that SAS’s waiver of service brought SAS
within the district court’s personal jurisdiction by way of Federal Rule of

        _____________________
        2
         SAS is a consortium of corporations headquartered in Stockholm and organized
under the laws of Denmark, Norway, and Sweden.
        3
        See Montreal Convention, arts. 17, 20, 21 (creating strict liability up to 100,000
SDR (~$134,000) where the injury occurs “in the course of any of the operations of
embarking or disembarking” and the injured does not cause or contribute to the injury).
        4
         See Nat’l Union Fire Ins. Co. of Pittsburgh v. UPS Supply Chain Sols., Inc., 74 F.4th
66 (2d Cir. 2023), cert. denied, 144 S. Ct. 559 (2024).




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                                          No. 23-30632


Civil Procedure 4(k)(2). Specifically, it found that Hardy had failed to relate
her claim to SAS’s forum-specific actions because the alleged negligent
conduct occurred in Oslo, not Louisiana. Buttressing its analysis, the court
also concluded that the exercise of personal jurisdiction here would not be
“fair and reasonable” because “the connection between her cause of action
and Defendant’s forum-related activities” was “too attenuated.” Hardy
appeals the dismissal.

                                                II.
        We review questions of personal jurisdiction de novo. 5 The party
asserting jurisdiction “has the burden to make a prima facie showing that per-
sonal jurisdiction is proper.” 6

                                               III.
        Hardy presents three claims on appeal: first, that the Montreal Con-
vention creates both personal and subject matter jurisdiction; second, that
SAS waived any objection to personal jurisdiction by incorporating the Mon-
treal Convention into its contract of carriage; and third, that SAS is subject
to personal jurisdiction under Federal Rule of Civil Procedure 4(k)(2) be-
cause it waived service. We reject the first and the second, but we agree with
the third.

                                                A.
        Whether the Montreal Convention independently creates personal
jurisdiction over a defendant is a question of first impression in this circuit.

        _____________________
        5
         E. Concrete Materials, Inc. v. ACE Am. Ins. Co., 948 F.3d 289, 295 (5th Cir. 2020)
(quoting In re Chinese-Manufactured Drywall Prods. Liab. Litig., 742 F.3d 576, 584 (5th Cir.
2014)).
        6
            Id. (quoting Monkton Ins. Servs., Ltd. v. Ritter, 768 F.3d 429, 431 (5th Cir. 2014)).




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                                      No. 23-30632


We conclude that the Montreal Convention’s Article 33 does not create per-
sonal jurisdiction, joining the Second Circuit, though with a different
rationale.
        The Montreal Convention is a multilateral treaty signed in 1999 and
adopted and ratified by the U.S. in 2003. The Convention “supersede[s] the
Warsaw Convention” of 1929 7 and, as amended, it “represents a vast im-
provement over the liability regime established” thereunder. 8 Inter alia, it
“provides for U.S. jurisdiction for most claims brought on behalf of U.S.
passengers” by means of a new subsection of the Warsaw Convention’s jur-
isdictional Article. 9 The parties’ main dispute is whether that language of
“jurisdiction” means personal jurisdiction as it is understood in American
courts.
        Hardy submits that the text of, the Letter of Submittal for, and the
Senate Committee’s Report on the Montreal Convention all “provide[] the
clear and unambiguous intent of the United States” to create personal jur-
isdiction over SAS. In her telling, the district court erred in two key ways.
First, interpretation of Article 33(2) cannot rely on prior interpretations of
the Warsaw Convention because the Warsaw Convention lacked any ana-
logue to Article 33(2). Second, the factual dissimilarities between her case,
dealing with a personal injury, and National Union, dealing with cargo dam-
age, make the Second Circuit’s analysis inapplicable. Hardy contends that
the parties to the treaty knew and accepted that it would open their national

        _____________________
        7
          See Convention for the Unification of Certain Rules Relating to International
Carriage by Air, Oct. 12, 1929, 49 Stat. 3000, 137 L.N.T.S. 11 (the “Warsaw Convention”).
        8
        Montreal Convention, Letter of Transmittal of President William J. Clinton,
1999 WL 33292734, at *2.
        9
        Id.; see also Letter of Submittal of Deputy Sec’y of State Strobe Talbott, 1999 WL
33292734, at *8, *23 (comparing Art. 33(2) to Warsaw Convention Art. 28).




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                                     No. 23-30632


carriers to liability in the United States. So, the district court improperly
interpreted the treaty.
        SAS retorts that the Second Circuit correctly determined that Arti-
cle 33 “speak[s] only to treaty jurisdiction as a form of subject-matter juris-
diction, not personal jurisdiction.” Nat’l Union, 74 F.4th at 73. So, the fac-
tual dissimilarities between Hardy’s and National Union’s cases are irrele-
vant. Further, SAS cites a litany of Article 33 cases either focusing on subject
matter jurisdiction or even expressly concluding that there is no personal
jurisdiction. Finally, SAS defends the applicability of Warsaw Convention
precedent because we routinely rely on caselaw interpreting the Warsaw
Convention “to interpret corresponding provisions of the Montreal Conven-
tion.” 10
        We agree with our prior panels that interpretation of the Warsaw Con-
vention can and should inform our interpretation of the Montreal Conven-
tion. 11 But the parties to the Montreal Convention added Article 33(2) be-
cause the Warsaw Convention lacked something. Therefore, to understand
what Article 33(2) does, we must turn to the traditional tools of treaty
interpretation.

                            1. Interpretation of Article 33(2)
        We construe treaties “more liberally than private agreements.” Potter
v. Delta Air Lines, Inc., 98 F.3d 881, 885 (5th Cir. 1996) (quoting Air France

        _____________________
        10
          Bridgeman v. United Cont’l Holdings, Inc., 552 F. App’x 294, 297 n.1 (5th Cir.
2013)). Separately, SAS contends that treaties may not create personal jurisdiction. But
the Constitution is merely a floor, not a ceiling, so we reject that position.
        11
          See id.; Bassam v. Am. Airlines, 287 F. App’x 309, 313 n.5 (5th Cir. 2008) (per
curiam) (“Although the Montreal Convention completely replaced the prior Warsaw Con-
vention, courts interpreting the Montreal Convention rely on cases interpreting similar
provisions of the Warsaw Convention.” (cleaned up)).




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                                  No. 23-30632


v. Saks, 470 U.S. 392, 396 (1985)) (cleaned up). “We begin with the text of
the treaty and the context in which the words are used.” Volkswagenwerk
Aktiengesellschaft v. Schlunk, 486 U.S. 694, 699 (1988) (cleaned up). Then, if
necessary “to ascertain their meaning[,] we may look beyond the written
words to the history of the treaty, the negotiations, and the practical con-
struction adopted by the parties.” Potter, 98 F.3d at 885 (citation omitted).
“[W]here a treaty admits of two constructions, one restrictive of and the
other favorable to the rights claimed under it, the latter is to be preferred.”
Boehringer-Mannheim Diagnostics, Inc. v. Pan Am. World Airways, Inc.,
737 F.2d 456, 458 (5th Cir. 1984) (citation omitted).
       We begin with the text of Article 33(2):
       In respect of damage resulting from the . . . injury of a passen-
       ger, an action may be brought before one of the courts . . . in the
       territory of a State Party in which at the time of the accident
       the passenger has his or her principal and permanent residence
       and to or from which the carrier operates services for the car-
       riage of passengers by air, either on its own aircraft, or on an-
       other carrier’s aircraft pursuant to a commercial agreement,
       and in which that carrier conducts its business of carriage of
       passengers by air from premises leased or owned by the carrier
       itself or by another carrier with which it has a commercial
       agreement.
Hardy contends that we ought to read “an action may be brought” to create
personal jurisdiction in the plaintiff’s home district over any defendant air-
line governed by the Montreal Convention. She marshals several pieces of
context to support her claim.
       First, she asserts that the State Department’s Letter of Submittal to
the Senate demonstrates the Senate’s understanding that the Treaty makes
Article 33(2)’s “fifth jurisdiction” “available even if the accident occurs on
a passenger journey and air service that did not include a point in the country




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                                       No. 23-30632


of the passenger’s principal and permanent residence, provided that the car-
rier had the contacts with that country required by this paragraph.” 12 Sec-
ond, the Senate Committee on Foreign Relations determined that “[u]nder
Article 33, . . . U.S. courts will have jurisdiction in nearly all cases involving
. . . personal injury to passengers who reside in the United States, thus elim-
inating the need for [them] to bring suit in foreign courts in order to obtain
jurisdiction over air carriers.” 13
        Hardy’s interpretation of that ratification history also fits well with the
stated goals of the replaced Warsaw Convention—“delegates voiced con-
cerns about the possibility of major air crash cases being decided by courts of
nations whose legal systems trailed developments in many or most other
nations. “To avoid the ‘prospect of a junglelike chaos,’ the Convention set
forth rules for universal application.” Boehringer-Mannheim Diagnostics,
737 F.2d at 458 (quoting Reed v. Wiser, 555 F.2d 1079, 1092 (2d Cir. 1977)).
        But that interpretation runs contrary to Supreme Court precedent
interpreting the same language in other contexts. Article 33 permits that suits
“must be brought, at the option of the plaintiff,” in certain territories,
Art. 33(1), or that they “may be brought” in the passenger’s residential ter-
ritory, Art. 33(2). That language precisely mirrors the language we regularly
see in venue-selection and prescription clauses. 14 But, unfortunately for
        _____________________
        12
           Montreal Convention, Letter of Submittal of Deputy Sec’y of State Strobe
Talbott, 1999 WL 33292734, at *23 (discussing Art. 33(2)).
        13
           S. Exec. Rep. 108-8, at 4, 108th Cong. (2003); see also id. at 21–22 (Deputy Assis-
tant Secretary of State John R. Byerly explaining that the Convention allows an injured
person to bring suit in “U.S. courts not only in cases against an airline that is domiciled or
has its principal place of business here, or where the passenger’s destination was the United
States, or where the passenger made the contract for carriage in the United States, but in
addition, where the passenger has his principal and permanent residence in all cases where
the carrier serves the United States . . . and that carrier has a presence here.”).
        14
             Compare Montreal Convention art. 33 with 28 U.S.C. § 1391(b) and BNSF,




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                                         No. 23-30632


Hardy, a venue prescription sans authorization of service of process does not
independently create personal jurisdiction. 15 In other words, Article 33 does
not create any jurisdiction. Instead, it prescribes venue. 16
        Admittedly, this interpretation is novel. As far as we are aware, no
other court has expressly answered the question of personal jurisdiction
under Article 33(2) by calling it a venue prescription. 17 The Second Circuit
is the only circuit to have definitively resolved the question, and it concluded
that Article 33(2) affords only subject matter jurisdiction, not personal. See
Nat’l Union, 74 F.4th at 73–74. So too have many district courts. 18

        _____________________
581 U.S. at 408–09.
        15
           See BNSF, 581 U.S. at 408–09; see also Leroy v. Great W. United Corp., 443 U.S.
173 (1979). There, the Supreme Court interpreted Section 27 of the 1934 Exchange Act.
See 15 U.S.C. § 78aa. It, like Montreal Convention Article 33, has a title that includes the
word “Jurisdiction,” and it explains both that “[a]ny criminal proceeding may be brought in
the district wherein any act or transaction constituting the violation occurred” and that
“[a]ny suit or action to enforce any liability or duty created by this chapter . . . may be
brought in any such district . . . .” 15 U.S.C. § 78aa(a) (emphasis added). Despite that, and
even despite Section 27’s discussion of service of process, the Court declared that “§ 27 of
the 1934 [Exchange] Act does not provide a basis for personal jurisdiction . . . .” Great W.
United Corp., 443 U.S. at 180–81.
        16
           The title of Article 33, “Jurisdiction,” is likely the result of harmonizing different
legal systems. Regardless, the title of the section does not override the plain language of
the Treaty. See also supra note 15.
        17
           The Eleventh Circuit at least implicitly endorsed our interpretation of Article 33
in Pierre-Louis v. Newvac Corp., 584 F.3d 1052 (11th Cir. 2009). There, in a forum non con-
veniens dispute, the court reviewed Article 33 as a “jurisdictional provision which specifies
in which fora . . . suits can be brought” and found that Article 33 did not prevent the appli-
cation of forum non conveniens. Id. at 1056–58.
        18
           See, e.g., Pesa v. SAS, 2:19 Civ. 20415, 2021 WL 1660863, at *7 (D.N.J. Apr. 27,
2021); Sampson v. Delta Air Lines, Inc., No. 2:12 Civ. 244, 2013 WL 6409865, at *1 (D. Utah
Dec. 9, 2013); Weinberg v. Grand Circle Travel, LCC, 891 F. Supp. 2d 228, 237 (D. Mass.
2012); Tucker v. British Airways PLC, 2:16 Civ. 00618, 2017 WL 6389302, at *3 (W.D.
Wash. Dec. 14, 2017); Burton v. Air France-KLM, No. 3:20-cv-1085, 2020 WL 7212566,
at *7 (D. Or. Dec. 7, 2020); Fisher v. Qantas Airways Ltd., 521 F. Supp. 3d 847, 855 (D. Ariz.




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                                        No. 23-30632


        Still, we must perform our judicial duty and interpret the text. In that
endeavor, Duplantier v. United States, 606 F.2d 654 (5th Cir. 1979), is instruc-
tive. There, we accepted the contention that 28 U.S.C. § 1391(e)(2)’s
service-of-process language created personal jurisdiction over the federal
Executive Branch. But we rejected an extension of that subsection’s reach to
the Judicial Branch because the judiciary contained no officers or agencies.
Id. at 663–64 (adopting Liberation News Serv. v. Eastland, 426 F.2d 1379 (2d
Cir. 1970) (declining to extend § 1391 to the Legislative Branch)). Without
language providing for service on judicial branch members, we could not
exercise personal jurisdiction over the judicial defendants. Id. 19
        We interpret the Montreal Convention in the same way. It provides a
cause of action—Articles 17 and 18 20—and it provides a venue selection
clause—Article 33—but it does not provide for service, so it does not create

        _____________________
2021); Bandurin v. Aeroflot Russian Airlines, 19 CV 255, 2020 WL 362781, at *5 (N.D. Ill.
Jan. 22, 2020); Avalon Techs., Inc. v. EMO-Trans, Inc., Civ. A. No. 14-14731, 2015 WL
1952287, at *5 (E.D. Mich. Apr. 29, 2015).
         That so many courts reach the same conclusion might suggest that the answer is
well settled. But, other than the Second Circuit’s ruling in National Union and some Sec-
ond Circuit cases on the Warsaw Convention such as Campbell v. Air Jamacia, Ltd.,
863 F.2d 1, 1 (2d Cir. 1988) (per curiam), and Smith v. Canadian Pac. Airways, Ltd.,
452 F.2d 798, 800 (2d Cir. 1971) (addressing a motion to dismiss based on Rules 12(b)(1)
and (3)), effectively every case offers some form of “other courts have said this is subject
matter jurisdiction, not personal. Q.E.D., we do the same.” In other words, they forgo any
kind of analysis. That reliance-without-analysis has no persuasive force, leaving us bound
to perform an independent interpretation.
        19
           See also Fed. R. Civ. P. 4(k) (requiring service of a summons or waiver as a
prerequisite to exercising jurisdiction); In re McDonnell-Douglas Corp., 647 F.2d 515, 516
(5th Cir. Unit A May 1981) (“A court sitting in admiralty has personal jurisdiction over any
defendant sued in personam whom the court can reach with process.” (cleaned up)); Omni
Cap. Int’l, Ltd. v. Rudolf Wolff &amp; Co., 484 U.S. 97, 104–06 (1987); Fischer v. Fed. Express
Corp., 42 F.4th 366, 385 (3d Cir. 2022), cert. denied, 143 S. Ct. 1001 (2023).
        20
             See Boehringer-Mannheim Diagnostics, 737 F.2d at 458.




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                                         No. 23-30632


personal jurisdiction. 21 Therefore, the district court correctly concluded that
Article 33(2) did not create personal jurisdiction over SAS.

                                               B.
        Hardy contends that, by virtue of reference to the Montreal Conven-
tion in its Contract of Carriage, SAS has waived its objections to personal
jurisdiction in any court competent to hear a Montreal Convention claim.
But an acknowledgment of subject matter jurisdiction or statutorily permit-
ted venue does not waive personal jurisdiction.
        Contrary to SAS’s claims, Hardy did not forfeit her waiver position.22
Still, we reject it. Her position on appeal merely repackages her claim that
the Montreal Convention creates personal jurisdiction. But if the Conven-
tion does not create personal jurisdiction, then SAS’s acknowledging that it
is bound by the Convention does not waive any objections to personal
        _____________________
        21
           We do not intend our interpretation to create any tension or conflict with other
courts’ interpretations, despite their differing language. Instead, it appears most likely that
those courts have merely imprecisely used the term “subject matter jurisdiction” to de-
scribe Article 33. See 14D Charles Alan Wright &amp; Arthur R. Miller, Fed-
eral Practice &amp; Procedure § 3801 (4th ed.) (“Wright &amp; Miller”) (“Some-
times venue is confused with subject matter jurisdiction. The two concepts are quite differ-
ent. The jurisdiction of the federal courts is a grant of authority to them by Congress.”
(cleaned up)). Title 28 U.S.C. § 1331 specifically vests federal courts with subject matter
jurisdiction over disputes arising out of treaties, so reading Article 33(2) to create subject
matter jurisdiction also would create surplusage. Cf. R J Reynolds Tobacco Co. v. FDA,
96 F.4th 863, 879 (5th Cir. 2024) (declining to read surplusage into text). Therefore, we
adopt a reading that gives Article 33 some other meaning, one that fits well with both the
structure of the treaty and the intent of the signatory countries. See S. Exec. Rep. 108-8
at 3, 4.
        22
           SAS avers Hardy raised this Contract of Carriage contention for the first time on
appeal, and, of course, matters not raised to the district court are waived on appeal. Rollins
v. Home Depot USA, 8 F.4th 393, 397 (5th Cir. 2021). But on review of the record, we see
several locations where Hardy raised this exact issue. True, she could have done so more
clearly. But she did so sufficiently to at least alert the district court to the issue. Therefore,
she has not forfeited her claim.




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                                       No. 23-30632


jurisdiction.
        Made through an extremely oblique citation, Hardy appears primarily
to assert that the Contract of Carriage’s adoption of the Montreal Conven-
tion is akin to a forum selection clause—a “contractual waiver of personal-
jurisdiction objections if litigation is commenced in the specified forum.”
Weber v. PACT XPP Techs., AG, 811 F.3d 758, 768 (5th Cir. 2016) (cleaned
up). But a statutorily imposed forum prescription clause differs significantly
from a contractual forum selection clause—one is imposed, the other is
chosen—and a prescription does not create or imply personal jurisdiction.
Cf. BNSF, 581 U.S. at 408.
        SAS must comply with numerous federal regulations, including
14 C.F.R. §§ 203.3 and 203.4. 23 Those require SAS to “include the [Mon-
treal Convention’s] terms as part of its conditions of carriage.” 14 C.F.R.
§ 203.4(b). Hardy asserts those regulations support her claim that SAS has
consented to jurisdiction anywhere in the United States. But that cannot
square with BNSF.
        Just as a train company may be obligated to apply the Federal
Employer’s Liability Act in an employment-contract dispute, so too has SAS
been obligated to adopt the Montreal Convention in its contract of carriage.
Therefore, the waiver claim cannot stand. Just as the venue-prescription pro-
vision in BNSF did not confer personal jurisdiction, the statutory venue

        _____________________
        23
           SAS appropriately points out that 14 C.F.R. § 203.4 addresses only the Montreal
Agreement, which is distinct from the Montreal Convention. Even so, 14 C.F.R. § 203.3requires the filing of signed counterparts to the “replacement” to the Montreal Agreement
and is entitled “Filing Requirements for Adherence to Montreal Convention.” Because
we rule for SAS anyway, for the sake of this case we will assume that the subsequent section
of the same regulation was similarly updated. See also 14 C.F.R. § 203.5; Montreal Con-
vention Article 55(1)(e) (stating that “[t]his Convention shall prevail over any rules which
apply to international carriage by air,” including Montreal Protocol No. 4.).




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                                       No. 23-30632


prescriptions here, required to be adopted into contracts by law, do not create
a waiver of personal jurisdiction.
        Because the Montreal Convention does not create personal jurisdic-
tion, we reject Hardy’s claim. An acknowledgment of subject matter jurisdic-
tion or of statutorily-permitted venue is not a waiver of personal jurisdiction.
So SAS did not waive its ability to object by referencing the treaty in the
Contract of Carriage.

                                            C.
        Hardy submits that the district court had personal jurisdiction because
SAS waived service and Hardy has met the other requirements of Rule
4(k)(2). We agree.
        Federal courts’ exercise of personal jurisdiction is governed by Fed-
eral Rule of Civil Procedure 4(k). This rule limits which federal court may
hale a defendant into court, permitting to do so (1) a court that (A) sits in a
state where the defendant is subject to the jurisdiction of that state’s courts,
(B) is within one hundred miles of where the joined defendant was served, or
(C) is authorized by federal statute; or, (2) any federal court where the claim
arises under federal law and (A) the defendant is not amenable to the juris-
diction of any state’s courts but (B) where the exercise of personal jurisdic-
tion by the federal courts would not violate the federal constitution and laws.
Fed. R. Civ. P. 4(k). 24

        _____________________
        24
           Rule 4(k)(2) “was enacted to fill an important gap in the jurisdiction of federal
courts in cases arising under federal law”: those cases where “‘a defendant may have suf-
ficient contacts with the United States as a whole to satisfy due process concerns,” but
“insufficient contacts with any single state,” such that the defendant “would not be amen-
able to service by a federal court sitting in that state.’” Adams v. Unione Mediterranea Di
Sicurta, 364 F.3d 646, 651 (5th Cir. 2004) (quoting World Tanker Carriers Corp. v. MV Ya
Mawlaya, 99 F.3d 717, 721–22 (5th Cir. 1996)); see also 4B Wright &amp; Miller § 1124.




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                                      No. 23-30632


        Hardy contends that SAS falls into the second group—defendants
that maintain sufficient ties to the United States but not to any one state—
such that SAS’s waiver of service suffices for Rule 4(k)(2) to apply. SAS
responds by disputing that Hardy’s claims arise from its contacts in the
United States and asserting that Rule 4(k)(2) provides no independent basis
for personal jurisdiction.
        But SAS, like the district court, misconstrues the standard we apply:
We do not analyze whether SAS had minimum contacts with the Eastern
District of Louisiana; instead, we analyze its contacts with the United States
writ large. Taking each prong of the Rule 4 analysis in turn, we conclude that
the district court had personal jurisdiction over SAS.

                  1. Whether the Claim Arises Under Federal Law.
        A claim that arises from a treaty is a federal question. 28 U.S.C.
§ 1331. Hardy asserts liability under the Montreal Convention, meaning that
her claim arises under federal law. 25

             2. Whether Hardy Served a Summons or SAS Waived Service.
        SAS waived service and does not dispute this prong of the Rule
4(k)(2) analysis. Thus, we continue to Rule 4(k)(2)(A) and (B).

    3. Whether SAS Is Subject to Jurisdiction in Any State’s Courts of General
                                         Jurisdiction.
        Whether SAS may be subject to specific jurisdiction in New Jersey for

        _____________________
        25
           See World Tanker, 99 F.3d at 720–22 (“The use of the word ‘any’ to qualify
‘federal law’ suggests that the Advisory Committee intended Rule 4(k)(2) to reach not just
federal questions arising under § 1331 but all claims arising under substantive federal
law.”); see also Potter, 98 F.3d at 883–85 &amp; n.4 (interpreting the Montreal Convention’s
predecessor, the Warsaw Convention, and acknowledging such interpretation raised a
federal question); see also 13D Wright &amp; Miller § 3563 &amp; nn.57–61.




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                                          No. 23-30632


this case is uncertain. But it is ultimately irrelevant to our analysis because
SAS has not claimed so in court.
          In Adams, this circuit joined the Seventh in adopting a presumption
that, “so long as a defendant does not concede to jurisdiction in another state,
a court may use 4(k)(2) to confer jurisdiction.” 364 F.3d at 651 (citing ISI
Int’l, Inc. v. Borden Ladner Gervais LLP, 256 F.3d 548, 552 (7th Cir. 2001)).
Applied for the sake of judicial economy, this presumption applies to preter-
mit any “piecemeal analysis of the existence vel non of jurisdiction in all fifty
states.” Id. 26
          SAS has been on notice since, at least, Hardy’s response to the motion
to dismiss that, to rebut the application of Rule 4(k)(2), it bears the obligation
to identify a jurisdiction within the U.S. where it is subject to personal juris-
diction. Yet it has declined to name any. Considering that SAS has no em-
ployees or property in the United States, no jurisdiction obviously has gen-
eral jurisdiction over it. Further, like the defendant in Adams, SAS “has gen-
erally challenged the existence of minimum contacts with the United States
as a whole,” id., by contending that it is not at home in the United States and
that Hardy’s claims do not arise from SAS’s contacts in the U.S. at all.
Therefore, Rule 4(k)(2)(A) does not bar a finding of personal jurisdiction.

         4. Whether Exercising Jurisdiction Is Consistent with the United States
                                        Constitution and Laws.
          Finally, we reach the key question: Whether the exercise of jurisdic-
tion over SAS by the Eastern District of Louisiana comports with the federal
Constitution and laws.


          _____________________
          26
               See also Nagravision SA v. Gotech Int’l Tech. Ltd., 882 F.3d 494, 499 (5th Cir.
2018).




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                                      No. 23-30632


        This is the only prong of the Rule 4(k) analysis that SAS contests,
asserting both that it is not “at home” in Louisiana and that Hardy’s claims
do not sufficiently arise out of SAS’s contacts with Louisiana to afford spe-
cific personal jurisdiction. SAS, like the district court, is correct that it is not
“at home” in the United States, nor in Louisiana. But SAS copies the district
court’s error, analyzing the specific-personal-jurisdiction prong for connec-
tion with Louisiana, instead of connection with the United States writ large.
Because SAS has sufficient minimum contacts with the U.S. so as not to
offend the traditional notions of fair play and substantial justice, the exercise
of specific personal by a federal district court is constitutionally permissible.

                                      Rule 4(k)(2)(B)
        “Rule 4(k)(2) is a procedural rule governing the territorial limits of
service. The text is expressly subservient to the constitutional limits of due
process.” Douglass v. Nippon Yusen Kabushiki Kaisha, 46 F.4th 226, 233 (5th
Cir. 2022) (en banc), cert. denied, 143 S. Ct. 1021 (2023). To determine the
constitutional limits of personal jurisdiction for federal claims, we analyze
their comportment with the due process clause of the Fifth Amendment, not
the Fourteenth. Id. at 231. But the process of analysis should be familiar—
“the Fifth Amendment due process test for personal jurisdiction requires the
same ‘minimum contacts’ with the United States as the Fourteenth Amend-
ment requires with a state.” Douglass, 46 F.4th at 235. 27
        Hardy does not assert that SAS is subject to the general personal juris-

        _____________________
        27
           See also 46 F.5th at 238 &amp; n.19 (“Every Fifth Circuit decision addressing the
scope of contacts required for personal jurisdiction under the Fifth Amendment has applied
the then-existing Fourteenth Amendment framework.” (footnote collecting cases)). Our
practice also comports with most other circuits. See id. at 238 n.24 (collecting cases from
the Second, Sixth, Seventh, Eleventh, Federal, and D.C. Circuits); 4 Wright &amp; Mil-
ler § 1069.1, nn.10, 31 (collecting cases).




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                                           No. 23-30632


diction of the district court. A wise choice, as the court correctly concluded
that Douglass forecloses such a claim. 28 Thus, our only question is whether
the court erred by finding that it could not exercise specific personal jurisdic-
tion over SAS in connection with Hardy’s claim.
               “This circuit applies a three-step analysis for the specific
           jurisdiction inquiry: (1) whether the defendant has minimum
           contacts with the forum state, i.e., whether it purposely dir-
           ected its activities toward the forum state or purposefully
           availed itself of the privileges of conducting activities there;
           (2) whether the plaintiff’s cause of action arises out of or re-
           sults from the defendant’s forum-related contacts; and
           (3) whether the exercise of personal jurisdiction is fair and rea-
           sonable.” If a plaintiff establishes the first two prongs, the bur-
           den shifts to the defendant to show that the exercise of personal
           jurisdiction would be unfair or unreasonable.[ 29]

                         Minimum Contacts and Purposeful Availment
           As every first-year law student learns, personal jurisdiction depends
on whether the defendant “ha[s] certain minimum contacts with [the forum]
such that the maintenance of the suit does not offend traditional notions of
fair play and substantial justice.” Int’l Shoe Co. v. Washington, 326 U.S. 310,
316 (1945) (internal quotations and citations omitted). Those minimum con-
tacts must show “some act by which the defendant purposefully avail[ed]
itself of the privilege of conducting activities within the forum State, thus
invoking the benefits and protections of its laws.” 30 “For federal claims filed
           _____________________
           28
           See 46 F.4th at 234–35, 238 (expressly limiting the extent of its analysis to general
jurisdiction and distinguishing those cases that apply 4(k)(2) in specific jurisdiction
contexts); see also Quick Techs., Inc. v. Sage Group PLC, 313 F.3d 338, 343–45 (5th Cir.
2002).
           29
                E. Concrete Materials, 948 F.3d at 296 (quoting and citing Monkton, 768 F.3d
at 433).
           30
                Hanson v. Denckla, 357 U.S. 235, 253 (1958); see also Ford Motor Co. v. Montana




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                                        No. 23-30632


in federal courts, of course, the relevant minimum contacts are those with the
entire United States, not a forum state.” 31
           SAS flies into/out of seven different metro areas in the U.S. It also
advertises to American buyers, participates in the Star Alliance with United
Airlines, owns and operates a subsidiary in the United States, sells tickets
online across the U.S., and is regulated by the FAA. 32
           Combined, these contacts more than meet the minimum-contacts test
and show that SAS has purposefully availed itself of the protections of U.S.
laws. 33



           _____________________
Eighth Jud. Dist. Ct., 592 U.S. 351, 359 (2021) (first citing Keeton v. Hustler Magazine, Inc.,
465 U.S. 770, 774 (1984); and then citing Walden v. Fiore, 571 U.S. 277, 285 (2014)).
           31
           Douglass, 46 F.4th at 242; see also Adams, 364 F.3d at 651 (citing World Tanker,
99 F.3d at 723); DISH Network, L.L.C. v. Elahmad, No. 23-20180, 2024 WL 1008585, at *2
(5th Cir. Mar. 8, 2024) (per curiam) (unpublished).
           32
          See 49 U.S.C. §§ 41101, 41301–02; cf. Ford, 592 U.S. at 365 (“Small wonder that
Ford has here conceded ‘purposeful availment’ of the two States’ markets. By every means
imaginable—among them, billboards, TV and radio spots, print ads, and direct mail—Ford
urges Montanans and Minnesotans to buy its vehicles.” (citation omitted)).
         We do not suggest that selling tickets online would alone suffice for specific per-
sonal jurisdiction, nor would merely owning and operating a subsidiary or participating in
an airline alliance. But we may consider the relevance of those factors, particularly in con-
junction with SAS’s other actions. Cf. E. Concrete Materials, 948 F.3d at 296–97. We simi-
larly discount the personal-jurisdictional implications of SAS’s participation in a multi-
district class action as a plaintiff and its petitioning for bankruptcy in U.S. courts. See
Shambaugh &amp; Son, L.P. v. Steadfast Ins. Co., 91 F.4th 364, 374 (5th Cir. 2024) (“The mere
fact that a defendant participated in state court lawsuits in the putative forum, without
more, cannot meet this court’s standard for specific personal jurisdiction.” (citation
omitted)).
           33
           Cf. Kim v. Korean Air Lines Co., 513 F. Supp. 3d 462, 473–74 (D.N.J. 2021)
(finding sufficient minimum contacts and a causal relationship between New York and an
injury sustained midflight out of JFK Airport).




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                                       No. 23-30632


                              Arises Out of or Results From
        The next prong of the test asks whether Hardy’s claims arise out of or
result from SAS’s minimum contacts. Contrary to the district court’s
rulings, they do.
        “[S]pecific jurisdiction is confined to adjudication of issues deriving
from, or connected with, the very controversy that establishes jurisdic-
tion.” 34 In other words, Hardy must provide a prima facie showing of a con-
nection between SAS’s actions in the United States and her injury.
        In Ford, the Supreme Court described the standard as having two
prongs. First, we look to causation. But, if we do not find causation, we may
also “contemplate[] that some relationships will support jurisdiction without
a causal showing.” 35
        The district court focused solely on SAS’s selling the ticket to Hardy
in Mandeville. That, it determined, showed insufficient causation of her
injury, nor was it the type of relationship that would otherwise support juris-
diction. But that narrow focus was improper. Hardy’s claim arises out of the
ticket sale, yes, but it also stems from SAS’s advertising in the United States
and its operation of a flight out of Newark. That her injury occurred during
the flight’s disembarkation in Oslo does not resolve the matter. Instead, we
must review those facts as pieces of a whole. Put together, we see that SAS’s

        _____________________
        34
            Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011); see
also id. at 923–24 (“Adjudicatory authority is ‘specific’ when the suit ‘arises out of or
relates to the defendant’s contacts with the forum.’” (quoting Helicopteros Nacionales de
Colombia, S.A. v. Hall, 466 U.S. 408, 414 n.8 (1984)) (alterations accepted)).
        35
           Ford, 592 U.S. at 362; see id. (“In the sphere of specific jurisdiction, the phrase
‘relate to’ incorporates real limits, as it must to adequately protect defendants foreign to a
forum. But again, we have never framed the specific jurisdiction inquiry as always requiring
proof of causation—i.e., proof that the plaintiff’s claim came about because of the
defendant’s in-state conduct.”).




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                                      No. 23-30632


purposeful contacts in the U.S. combined to create an unbroken causal chain
that ends with Hardy’s injury.
        In other words, the district court erred because it considered only the
contacts with the Eastern District of Louisiana, but it should have considered
whether the claim arose out of SAS’s intentional contacts with the United
States as a whole. 36 The connection between Hardy’s injury and SAS’s con-
tacts with Louisiana may have been overly attenuated, but the connection to
its contacts with the U.S. was not. Thus, Hardy’s injury “arises out of”
SAS’s minimum contacts with the United States.

                             Fairness and Reasonableness
        Finally, we turn to the fairness and reasonableness prong of the analy-
sis. As with the “arises out of or results from” prong, the district court ruled
that the connection between Hardy’s claims and SAS’s contacts was “too
attenuated.” This too was error.
        Now that we have determined that Hardy has met her prima facie bur-
den on the first two factors, SAS must prove the unfairness of the exercise of
personal jurisdiction. E. Concrete Materials, 948 F.3d at 296, 299. But SAS
has made no such showing—nor even attempted to make one. Even if the
burden had not shifted to SAS, though, the exercise of jurisdiction would be
reasonable and fair.
        International Shoe derives its limitation of personal jurisdiction to
those forums that would not offend the traditional notions of fair play and
substantial justice from the Due Process Clause’s protection of individual
liberty. Douglass, 46 F.4th at 236. We weigh five factors to determine
        _____________________
        36
          Cf. Walden, 571 U.S. at 284 (holding that, for specific jurisdiction, “the rela-
tionship must arise out of contacts that the ‘defendant [it]self’ creates with the forum
State” (quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475 (1985))).




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                                      No. 23-30632


whether such an exercise is fair and just: “(1) the burden on the nonresident
defendant, (2) the forum state’s interests, (3) the plaintiff’s interest in secur-
ing relief, (4) the interest of the interstate judicial system in the efficient
administration of justice, and (5) the shared interest of the several states in
furthering fundamental social policies.” 37
          The first factor is the most important, E. Concrete Materials, 948 F.3d
at 299 (citation omitted), and the burden on SAS is weighty: It is based in the
Scandinavian countries, not the United States. Also, Hardy’s injury oc-
curred in Norway, and many of the relevant witnesses and evidence will be
located there. At the same time, though, SAS regularly litigates in the U.S.,
including having declared bankruptcy here. Further, that SAS is an interna-
tional airline suggests it may be better able than many other defendants to
mitigate the burden of litigating this case in the United States. 38
          But the second factor counters the first here. The United States has
a weighty interest in the dispute because the plaintiff is an injured American
citizen and resident, and her claim arises under a treaty to which the U.S. is
a signatory. Further, as discussed earlier, her flight took off from the United
States.
          The third factor, the plaintiff’s interest, also weighs heavily toward
maintaining the case in the United States: Hardy received her initial medical
treatment in Norway, but she received follow-up treatment here, and she
remains plagued by her injury. Moreover, she lives in and had her life-care

          _____________________
          37
           E. Concrete Materials, 948 F.3d at 298 (quoting Luv N’ care, Ltd. v. Insta-Mix,
Inc., 438 F.3d 465, 473 (5th Cir. 2006)); see also Douglass, 46 F.4th at 236 (first quoting
World-Wide Volkswagen v. Woodson, 444 U.S. 286, 292 (1980); and then quoting Bristol-
Myers Squibb Co. v. Super. Ct. of Cal., 137 S. Ct. 1773, 1781 (2017)).
          38
          See Nuovo Pignone, SpA v. STORMAN ASIA M/V, 310 F.3d 374, 382 (5th Cir.
2002), abrogated on other grounds by Water Splash, Inc. v. Menon, 581 U.S. 271 (2017).




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                                        No. 23-30632


plan prepared in the U.S. In other words, Hardy has a vested interest in being
able to pursue her claim in the forum she has chosen, one where she will not
be unduly inconvenienced if she wishes to attend any of the proceedings and
where some of her experts may be more readily available.
        The fourth and the fifth factors are much less easily weighed in this
context. 39 American courts handle personal injury cases every day, so we can
presume our courts will be efficient and competent. But neither party has
submitted evidence as to the efficiency or competence of the Norwegian
courts. Similarly, the impact on social policies of the United States and
Norway, both being signatories to the Montreal Convention, is unclear.
Additionally, as mentioned earlier, most of the evidence and many witnesses
are in Norway. In other words, these factors could tilt either way. 40
        Despite that opacity on the fourth and fifth factors, the second and the
third factors lean heavily in favor of a finding of fairness and reasonableness,
outweighing the “most important” first factor. 41 Moreover, SAS bears the
burden of rebutting the prima facie case the first two prongs establish and has
not done so. Therefore, the district court had specific personal jurisdiction
over SAS.


        _____________________
        39
              One district court has even called into question whether “the last two factors
. . . logically appear to pertain to an action where the relevant forum is the United States
rather than any one particular state.” Cambria Cnty. Employees’ Ret. Sys. v. Venator Mate-
rials PLC, 532 F. Supp. 3d 440, 448 (S.D. Tex. 2021) (citing Am. Dredging Co. v Miller, 510
U.S. 443, 447–49 &amp; n.2 (1994)). Because we can estimate the balance of the factors re-
gardless of these two, and SAS has not even attempted to meet its burden, we take no
position on the pertinence of the fourth and fifth factors. Instead, we note that the question
remains open and that another panel, dealing with a case that more squarely presents the
issue, may need to resolve it.
        40
             See also Kim, 513 F. Supp. 3d at 475–76 (weighing the same factors).
        41
             Cf. Burger King, 471 U.S. at 475–76 (discussing purposeful availment).




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                                No. 23-30632


                                   * * * * *

       We sum up our ruling as follows:
       The Montreal Convention’s Article 33 may be entitled “Jurisdic-
tion,” but it is only a venue prescription. We do not stretch SAS’s incorpor-
ation of the Convention in its contract of carriage into a waiver of personal
jurisdiction in countless fora because SAS only did as it was required by law
and the Treaty. See Montreal Convention art. 3(5). The district court prop-
erly rejected Hardy’s Montreal Convention claim.
       The district court erred in rejecting Hardy’s Rule 4(k)(2) claim. It
incorrectly analyzed SAS’s contacts with the state of Louisiana, where it
should have analyzed SAS’s contacts with the United States writ large. SAS
has sufficient minimum contacts with the United States that the exercise of
personal jurisdiction under Federal Rule of Civil Procedure 4(k)(2) is
appropriate.
       The judgment of dismissal is REVERSED and REMANDED. We
place no limitation on the matters that the district court might address on
remand, and we indicate no view on what rulings it should make.




                                          23
